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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------X
 JUAN CARLOS RAMIREZ ARGUETA and
 SANTOS CASTELLANOS VELAZQUEZ,
 individually and on behalf of others similarly             Case 1:20-cv-04216-ALC
 situated,
                                                            JUDGMENT
                         Plaintiffs,

 -against-

 DON FILIPPO RESTAURANT CORP.
 (D/B/A DON FILIPPO PIZZERIA &
 RESTAURANT), PHILIP ARCARA,
 SALVATORE DOE , and CARLOS DOE,

                        Defendants
 ---------------------------------------------------------X

           December 3, 2020 Plaintiffs filed a notice of acceptance of offer of judgment pursuant to
        On _____________

Rule 68 of the Federal Rules of Civil Procedure;

       NOW, it is hereby ORDERED, ADJUDGED AND DECREED as follows:

That the Plaintiffs JUAN CARLOS RAMIREZ ARGUETA and

SANTOS CASTELLANOS VELAZQUEZ, have judgment against Defendants DON FILIPPO

RESTAURANT CORP. (D/B/A DON FILIPPO PIZZERIA & RESTAURANT), PHILIP

ARCARA, SALVATORE DOE, and CARLOS DOE, (collectively “Defendants”), jointly and

severally, in the amount of $165,000, (One Hundred and Sixty Fifteen Thousand Dollars) which is

inclusive of attorneys’ fees and costs.


 Dated: January 10
         _________________________, 2020                      SO ORDERED,
